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                                                             Paul G. Rogers
                                                             Federal Building & US Courthouse
                                                             701 Clematis St
                                                             West Palm Beach, FL 33401
                                                             561-803-3400

BLAIZE CONTE
     Plaintiff
                                                                                FILED BY            Ice
v.                                                            Case No:                      -                 _o.c.
TRI-COUNTY CLEANING SERVICES INC;
LEON LONGSWORTH; INDIVIDUALLY                                                           FEB O6 2020
MERCEDES LONGSWORTH; INDIVIDUALLY                                                     cf~~/f~AflOBLECT.
     Defendant(s).                                                                   s.o. OF FLA.    1ST.
                                                                                                    --W.Ps.


                                                  Complaint

                  Plaintiff, BLAIZE CONTE("Plaintiff"), hereby sues Defendants, TRI-COUNTY

CLEANING SERVICES INC; LEON LONGSWORTH, AND MERCEDES LONGSWORTH,

                                                   GENERAL ALLEGATIONS

     1. This is an action by the Plaintiff for damages exceeding $15,000 costs resulting from

Defendants' violations of the Fair Labor Standards Act, 25 U.S.C 201-219("FLSA").

     2. Plaintiff was at all times relevant to this action, and continues to be, a resident of Palm

Beach County Florida, within the jurisdiction of this Honorable Court.

     3. Defendant, Tri-COUNTY CLEANING SERVICES INC, IS A FLORIDA PROFIT CORPORATION,

conducting business in Palm Beach, Boward County, Miami Dade County Florida, where

Plaintiff worked forDefendant and at all times material hereto was and is engaged in

interstate commerce.

     4. Defendant, LEON LONGSWORTH, is a corporate officer of, and exercised operational

control over the activities of, corporate Defendant TRI-COUNTY CLEANING SERVICES, INC.
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  5. Defendant, MERCEDES LONGSWORTH, is a corporate officer of, and exercised

operation control over the activities of, corporate DEFANDANT TRI-COUNTY CLEANING
SERVICES, INC.

   6. Venue is proper in Palm Beach County because some of the actions that form the

basis of this complaint occurred within Palm Beach County, Boward County, Miami-Dade.

  7. Declaratory, legal and equitable relief sought pursuant to the laws set forth

  8. All con,ditions precedent for the filing of this action before this Court have been

previously met, including the exhaustion of all pertinent administrative procedures and

remedies.
                          FACTUAL ALLEGATIONS COMMON TO ALL COUNTS



  9. Plaintiff performed work for Defendants from on or about 2017 to on or about January

2020 as Janitor/ Maintenance worker/ fix vacuum cleaners.

  10. Plaintiff would work over 40 hours a ·week or more and would never be paid and never

paid for overtime.

  11. On more than one occasion Plaintiff would find that the checks received would bounce

due to a lack of funds. The Plaintiff had to wait over a months to cash.

  12. Defendant would tell Plaintiff that they didn't need to pay him because they ask him

to do TRI-COUNTY CLEANER SERVICE, A PROFIT COMPANY to do the company a favor.

  13. Plaintiff was not paid anything at all from December 15 to current, Plaintiff was forced

to give notice to "Quit"(see text messages).

  14. Plaintiff loaned TRI-COUNTY CLEANING SERVICES, INC, Mercedes Longsworth and Leon

Longsworth on or around October 1, 2018 $8000, (see contract), which have failed to repay
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any amounts of agreements.

   14. (A). Plaintiff and Defendants both shared a storage Unit called Public Storage costing

around $175 monthly without tax. Both agreed to pay half the monthly rate. Defendant was

forced by Defendants' HOA to move all work equipment out of their Home. After 6 months,

Defendants didn't pay any of the months, Defendant used Plaintiff's credit card without

his knowledge to pay the monthly bills totaling over $1000. Plaintiff closed the storage.

   14. (B.) After storage unit was closed, Plaintiff stored up to 10 vacuums, maid cart and
jo
other TRI-COUNTY CLEANING SERVICE, INC'S equipment.



                                      COUNT 1
   BLAIZE CONTE FLSA Violation against TRI-COUNTY CLEANING SERVICES, INC, INC.

   15. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-14,

including 14a, 14b. Of this complaint as if set out in full herein.

   16.This action is brought by Plaintiff to recover from the Defendant unpaid minimum wage

under the provisions of FLSA as well as an additional amount of $8,000 loan on or about

October 1, 2018 under the provisions of FLSA

   17. Upon information and belief, at all times material hereto, Defendant's annual gross

 revenue exceeded $500,000 per annum on its own, or as part of a joint enterprise with the
 other
·corporate Defendant name herein, or which are as of yet unknown but will be revealed through

further discovery. To the extent that Defendant operated as part of a joint enterprise, it did so

with corporate entities that performed related activities, under the common control of the

individual Defendant, and for common business purposes related to the work performed by

Plaintiff for Defendant.
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      18. By reason of the foregoing, the Defendant is and was, during all times hereafter

mentioned, an enterprise engage in commerce or in the production of goods for commerce as

defined in 3 (r) and 3(s) of the FLSA, 29 U.S.C, 203 (rand 203(s. Defendant 1s business

activities involve those to which the FLSA applies. The Plaintiffs work for the Defendant

likewise affects interstate commerce.

      19. Plaintiff seeks to recover for unpaid wages accumulated from the date of July 2018

and/ or from two(2) years from the date of this complaint.

      21. Defendant knew and/or showed reckless disregard of the provisions of the FLSA

concerning the payment of minimum and/or overtime wages as required by the FLSA

remain owing Plaintiff these wages since the commencement of Plaintiff1s employment

with Defendant as set forth above and the $8000 loan on/ or around October 2018.

as such, Plaintiff is entitled to recover double damages.

      21. A. Plaintiff is seeking reimbursement of half the storage fee from July 2018 thru

December 2018 totaling over $1000

      21. B Plaintiff is seeking reimbursement for storage of TRI-COUNTY CLEANING SERVICES,

INC up to 7 vacuums, maid cart, vacuum repair parts for 1 year, 12 months totally $1000

      22. Defendant was an employer of Plaintiff within the meaning of Section 3(d) of the

11
     Fair Labor Standards Act1' (29 U.S.C. 203(d ), in that this individual Defendant acted directly

in the interests of Defendant employer in relation to the employees of Defendant employer,

including Plaintiff.

      23. As a corporate officer, Defendant possessed the authority to make financial and other

employment-related decisions on behalf of the corporation including, but not limited to,
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those decisions regarding the hiring and firing of employees, classification of employees,

assignment of work duties, payment of wages. Defendant had operational control of the

business and is thus jointly liable for Plaintiff's damages.

  24. Defendants willfully and intentionally refused to properly pay Plaintiff's wages as

required by the law of the United States as set forth above and remains owing Plaintiff

thee wages since the commencement of Plaintiff employment with Defendant.

WHEREFORE,      Plaintiff respectfully prays for the following relief against Defendant:

                a. Adjudge and decree that Defendant has violated the FLSA and has done
                so willfully, intentionally and with reckless disregard for Plaintiffs' right;

                b. Award Plaintiff actual damages in the amount shown to be due for unpaid
                minimum and/or overtime wages, with interest; and

                c. Award Plaintiff an equal amount in double damages/liquidated damages;

                d. Award Plaintiff the $8000 loan on/ or around October 1, 2018 with interest

                e. Award Plaintiff storage fee for split cost at Public Storage in Delray, FL
                and for storage of TRI-COUNTY CLEANING SERVICES INC'S equipment
                at his residence total $1000

                f. Grant Plaintiff such additional relief as the Court Deems just and proper
                the circumstances.



                                  COUNT II
BLAIZE CONTE violation against MERCEDES LONGSWORTH

  25.Plantiff re-adopts each and every factual allegation as stated in paragraphs 1 through

14, 14a, and 14b of this complaint as if set out in full herein.

  26. At the times mentioned, Defendant was, and is now a corporate officer of corporate

Defendant, TRI-COUNTY CLEANING SERVICE, INC.
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 · 27. Defendant was an employer of Plaintiff within the meaning of Section 3(d) of the "Fair

Labor Standards Act" (29 U.S.C. 203(d )), in that this individual Defendant acted directly in

the interests of Defendant employer in relation to the employees of Defendant employer,

including interest of Defendant employer in relation to the employees of Defendant

employer, including Plaintiff.

  28. As a corporate officer, Defendant possess the authority to make financial and other

employment-related decisions on behalf of the corporation including, but not limited to, those

decisions regarding the hiring and firing of employees, classification of employees,

assignment of work duties, payment of wages. Defendant had operational control of business

and its thus jointly liable for Plaintiff's damages.

29. Defendant willfully and intentionally refused to properly pay Plaintiff's wages as required

by the law of the United States as set forth above and remains owing Plaintiff these wages

since the commencement of Plaintiff's employment with Defendant as set forth above.

WHEREFORE,       Plaintiff respectfully prays for the following relief against Defendant:

                a. Adjudge and decree that Defendant has violated the FLSA and has done
                so willfully, intentionally and with reckless disregard for Plaintiffs' right;

                b. Award Plaintiff actual damages in the amount shown to be due for unpaid
                minimum and/or overtime wages, with interest; and

                c. Award Plaintiff an equal amount in double damages/liquidated damages;

                d. Award Plaintiff the $8000 loan on/ or around October 1, 2018 with interest

                e. Award Plaintiff storage fee for split cost at Public.Storage in Delray, FL
                and for storage of TRI-COUNTY CLEANING SERVICES INC'S equipment
                at his residence total $1000
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                f. Grant Plaintiff such additional relief as the Court Deems just and proper
                the circumstances.

                                       COUNT Ill
BLAIZE CONTE violation against LEON LONGSWORTH

  30. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through

14 of this complaint as if set out in full herein.

  31. At the times mentioned, Defendant was, and is now a corporate officer of corporate

Defendant, TRI-COUNTY CLEANING SERVICES, INC.

   32. Defendant was an employer of Plaintiff within the meaning of Section 3(d) of the "Fair

Labor Standards Act" (29 U.S.C. 203(d )), in that this individual Defendant acted directly in

the interests of Defendant employer in relation to the employees of Defendant employer,

including interest of Defendant employer in relation to the employees of Defendant

employer, including Plaintiff.

   33. As a corporate officer, Defendant possess the authority to make financial and other

employment-related decisions on behalf of the corporation including, but not limited to, those

decisions regarding the hiring and firing of employees, classification of employees,

assignment of work duties, payment of wages. Defendant had operational control of business

and its thus jointly liable for Plaintiff's damages.

   34 .. Defendant willfully and intentionally refused to properly pay Plaintiff's wages as
required
by the law of the United States as set forth above and remains owing Plaintiff these wages

since the commencement of Plaintiff's employment with Defendant as set forth above.

WHEREFORE,       Plaintiff respectfully prays for the following relief against Defendant:
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              a. Adjudge and decree that Defendant has violated the FLSA and has done
              so willfully, intentionally and with reckless disregard for Plaintiffs' right;

              b. Award Plaintiff actual damages in the amount shown to be due for unpaid
              minimum and/or overtimewages, with interest; and

              c. Award Plaintiff an equal amount in double damages/liquidated damages;

              d. Award Plaintiff the $8000 loan on/ or around October 1, 2018 with interest

              e. Award Plaintiff storage fee for split cost at Public Storage in Delray, FL
              and for storage of TRI-COUNTY CLEANING SERVICES INC'S equipment
              at his residence total $1000

              f. Grant Plaintiff such additional relief as the Court Deems just and proper
              the circumstances.



                                    JURY DEMANDS

              Plaintiff demands trial by jury of all issues and trial as of right by jury.




Dated: 2-6-2020
                                                             Blaize Conte
                                                             441 Pine Glenn Lane
                                                             Suite bl
                                                             Greenacres, Fl 33463


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